Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 1 of 30 PageID #: 2473



  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -------------------------------------------------------------X
  EARLINE SKATES,
                            Plaintiff,                             OPINION AND ORDER
                                                                   15-cv-1136 (SJF)(AYS)      FILED 
          -against-
                                                                                              CLERK 
  INCORPORATED VILLAGE OF FREEPORT,                                                               
                                                                                  4:05 pm, Jun 28, 2017
                                                                                                  
                            Defendant.
                                                                                      U.S. DISTRICT COURT 
  -------------------------------------------------------------X                 EASTERN DISTRICT OF NEW YORK 
                                                                                      LONG ISLAND OFFICE 
  FEUERSTEIN, District Judge:

          Plaintiff Earline Skates (“Plaintiff” or “Skates”) commenced this action against Defendant

  Incorporated Village of Freeport (“Defendant” or the “Village”), seeking redress for: (i) racial

  discrimination, retaliation, and hostile work environment pursuant to Title VII of the Civil Rights

  Act of 1964 (“Title VII”), 42 U.S.C. § 2000 et seq.; (ii) violation of 42 U.S.C. § 1981; (iii)

  retaliation pursuant to the Family Medical Leave Act (“FMLA”), 29 U.S.C. § 2601 et seq.; (iv)

  discrimination pursuant to the Americans with Disabilities Act of 1990 (“ADA”), 42 U.S.C. §

  12112 et seq.; (v) First Amendment retaliation pursuant to 42 U.S.C. § 1983; and (vi) racial

  discrimination and retaliation pursuant to the New York State Human Rights Law (“NYSHRL”),

  N.Y. Exec. Law § 291 et seq. See Docket Entry (“DE”) [1]. Presently before the Court is

  Defendant’s motion for summary judgment pursuant to Fed. R. Civ. P. 56, which Plaintiff opposes.

  DE [36], [47]. For the reasons set forth herein, Defendant’s motion is granted in its entirety.




                                                          1
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 2 of 30 PageID #: 2474



  I.      BACKGROUND

          A. Factual Background1

               1. The Parties and Plaintiff’s Employment for the Village

          Plaintiff Earline Skates is a disabled African-American woman who resides in Freeport,

  New York. Compl., DE [1], ¶¶ 8, 19. According to Plaintiff, Skates “suffered from a qualified

  disability following [an] injury sustained to her right wrist.” Id. at ¶ 20. Defendant Village of

  Freeport is a municipal entity in the State of New York, with its headquarters located at 46 N.

  Ocean Avenue, Freeport, New York. Id. at ¶ 10. At all relevant times, the Village was Plaintiff’s

  employer as defined and codified within the meaning of Title VII, the ADA, and the FMLA. Id.

  at ¶ 17. On or about July 8, 2010, the Village hired Plaintiff as a “Seasonal Laborer.” Def.’s 56.1

  Stmt. ¶ 1; Kirwan Decl. Ex. A. At the time Skates was hired in July 2010, non-party Andrew

  Hardwick was the Village’s Mayor. Def.’s 56.1 Stmt. ¶ 1. As Plaintiff’s appointment as a Seasonal

  Laborer was temporary, on approximately October 7, 2010, Plaintiff applied for, and was hired as,

  a part-time “Laborer” for the Village. Id. at ¶ 2; Kirwan Decl. Ex. B. Plaintiff worked as a part-

  time Laborer for the Village until approximately May 2012. Def.’s 56.1 Stmt. ¶ 3.

          Although Skates disputes that she worked as a “Recreation Attendant” for the Village prior

  to April 3, 2013, see Pl.’s 56.1 Stmt. ¶¶ 9-11, the evidence establishes that, on May 18, 2012,

  Plaintiff applied for a position as a Recreation Attendant in the Freeport Recreation Center (the

  “FRC”). See Kirwan Decl. Ex. C. The evidence further establishes that, on June 8, 2012, Plaintiff

  was appointed to the position of Recreation Attendant in the FRC, and that Hardwick authorized



           1
             Unless otherwise noted, the facts are drawn from Defendant’s Local Civil Rule 56.1 Statement of
  Undisputed Facts (“Def.’s 56.1 Stmt.”), DE [36-2]; the Declaration of Conor Kirwan in Support of Defendant’s
  Summary Judgment Motion (“Kirwan Decl.”), DE [36-3]; the Declaration of Deanna D. Panico in Support of
  Defendant’s Motion for Summary Judgment (“Panico Decl.”), DE [36-4]; Plaintiff’s Statement of Undisputed
  Material Facts Pursuant to Local Civil Rule 56.1 (“Pl.’s 56.1 Stmt.”), DE [48]; and the Declaration of Chauncey D.
  Henry in Opposition to Defendant’s Motion for Summary Judgment (“Henry Decl.”), DE [49].

                                                          2
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 3 of 30 PageID #: 2475



  Plaintiff’s appointment. Id.; see also Def.’s 56.1 Stmt. ¶ 4; Panico Decl. Ex. B (“Pl.’s Dep.”) at

  69:17-24. Pursuant to a Civil Service Class Specification for Recreation Attendant (“Recreation

  Attendant Specification”), a Recreation Attendant “[p]erforms routine duties related to the conduct

  of a recreation activity, or to the care of a physical facility while in use; performs related duties as

  required.” Def.’s 56.1 Stmt. ¶ 5. The Recreation Attendant Specification further provides that a

  Recreation Attendant “maintains order while recreational activities are in session,” “[m]aintains

  and supervises the use of recreational facilities,” and “[m]aintains and repairs equipment used at a

  recreational facility.” See Kirwan Decl. Ex. D.

         Although Skates claims that she worked as a “permanent clerk” in the Village’s Assessor’s

  Office beginning in approximately 2012, see Pl.’s 56.1 Stmt. ¶ 1, she testified that she did not

  actually apply for a position in the Assessor’s Office, and that she was asked “to help out in the

  Assessor’s Department because they were shorthanded . . . .” Pl.’s Dep. 48:19-25, 50:1-9.

  Furthermore, it is undisputed that, unlike the position of Recreation Attendant, the position of

  Clerk requires passing a civil service examination, and that Plaintiff neither took nor passed a civil

  service examination. See Def.’s 56.1 Stmt. ¶ 7; see also Kirwan Decl. ¶ 7; Pl.’s Dep. 76:21-23.

             2. Plaintiff’s Protected Activities

         Skates alleges that, while employed by the Village, she engaged in two (2) categories of

  activities protected by the First Amendment’s right to associate and right to free speech.

  Specifically, Plaintiff alleges that: (i) she attended the Village’s 2012 Memorial Day parade in

  order to collect signatures in support of a local campaign “aimed at keeping broadcasts of the

  Village Board of Trustees meetings on local public access television”; and (ii) “made clear her

  support for Mayor Andrew Hardwick” in the Village’s 2012 mayoral election and “that she was




                                                     3
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 4 of 30 PageID #: 2476



  involved in gathering information regarding the residency of Hardwick’s opponent.” Pl.’s 56.1

  Stmt. ¶¶ 2, 7.

                   i.    2012 Memorial Day Parade

         On approximately May 28, 2012, Plaintiff attended the Village’s Memorial Day parade,

  where she “collected signatures in support of a local campaign known as Resolution 18/44,” which

  was a resolution “aimed at keeping broadcasts of the Village Board of Trustees meetings on local

  public access television.” Id. at ¶ 2. According to Skates, two (2) Village trustees—non-parties

  Jorge Martinez and Carmen Pineyro—observed Plaintiff collecting signatures at the Memorial

  Day parade. Id. at ¶ 3. Skates claims that Martinez and Pineyro disapproved of her collecting

  signatures and “later instructed Scott Richardson Village Superintendent of Public Works to order

  [Plaintiff] to stop collecting signatures.” Id. Although Plaintiff does not claim that she was

  required to stop collecting signatures at the parade, at a June 2012 meeting of the Village’s Board

  of Trustees, Martinez and Pineyro “voiced their disapproval, and further commented that

  [Plaintiff] should no longer be employed by the Village of Freeport.” Id. at ¶¶ 4-5. Plaintiff does

  not claim that she was terminated from her employment or otherwise reprimanded as a result of

  her activities at the 2012 Memorial Day parade. Nevertheless, approximately three (3) months

  after the parade, Plaintiff filed a complaint with the New York State Department of Human Rights

  alleging, inter alia, that she was “subject to discriminatory employment practices on account of

  her first amendment conduct.” Id. at ¶ 6.

                   ii.   Support for Hardwick’s Mayoral Campaign

         In addition to collecting signatures at the Memorial Day parade, while still employed by

  the Village, Plaintiff “made clear her support for Mayor Andrew Hardwick in the upcoming

  mayoral election . . . .” Id. at ¶ 7. As part of her support for Hardwick’s campaign, Plaintiff



                                                  4
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 5 of 30 PageID #: 2477



  assisted in “gathering information regarding the residency of Hardwick’s opponent, Robert T.

  Kennedy, who was rumored to be living in Lynbrook, New York, rather than in the Village of

  Freeport.” Id. In addition to investigating Kennedy’s residency, Skates also reviewed Kennedy’s

  petition for candidacy for discrepancies by comparing the petition to the Village’s voter

  registration book. Pl.’s Dep. 106:7-13. As a result of her investigation, Skates uncovered

  “discrepancies in Robert T. Kennedy’s property” and found “illegal signatures in connection with

  his election, and his petition, all of which were records that were publically available.” Pl.’s 56.1

  Stmt. ¶ 8. According to Plaintiff, she “reviewed the petitions that were questionable in the presence

  of employees of the Village of Freeport, and utilized the workplace computer to print the

  questionable records out.” Id.

               3. Transfer Back to Recreation Center

           Kennedy ultimately won the election, and, upon assuming office in March 2013, he

  discovered that “many employees under the former mayor, Andrew Hardwick, were working out-

  of-title.” Def.’s 56.1 Stmt. ¶ 8. As the New York Civil Service Law prohibits employees from

  working out-of-title, Kennedy “transferred all of those employees, previously working out of title,

  back to their respective, proper positions.” Id. at ¶ 9. Kennedy determined that Skates was one

  such employee who was working out-of-title, and “in or about April 2013, Ms. Skates was

  transferred to the Recreation Center to fill her position as Recreation Attendant, which was the

  title Ms. Skates held since June of 2012.”2 Id. at ¶¶ 8, 10. Although Plaintiff claims that she “did

  not apply for this involuntary transfer or demotion,” and that the transfer was “instituted as a form

  of punishment by then mayor Robert T. Kennedy,” see Pl.’s 56.1 Stmt. ¶ 10, Skates admitted that




           2
             Based upon the record before the Court, it is unclear when, and to what capacity, Skates previously left her
  position as Recreation Attendant in the FRC.

                                                            5
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 6 of 30 PageID #: 2478



  she had “no idea” whether Kennedy had any knowledge of her political activities in support of

  Hardwick. Def.’s 56.1 Stmt. ¶ 12; see also Pl.’s Dep. 106:19-24.

         It is undisputed that Plaintiff was not the only employee transferred when Kennedy

  assumed office, and that, upon being transferred back to the FRC, Plaintiff did not suffer any

  diminution in salary. Pl.’s 56.1 Stmt. ¶ 12; see also Def.’s 56.1 Stmt. ¶ 11. However, Skates

  claims that upon transfer to the FRC, “her duties . . . differed completely from those at [the] Village

  Assessor’s office.” Pl.’s 56.1 Stmt. ¶ 12. Specifically, Plaintiff claims that, whereas her position

  in the Assessor’s Office “was an administrative position,” her “work at the Freeport Recreation

  Center was janitorial in nature.” Id. According to Plaintiff, her duties at the FRC included

  “sweeping, dusting, painting, cleaning recreation center equipment, mopping floors, cleaning paint

  off of walls and tables, cleaning bathrooms, and cleaning the Freeport Recreation Center parking

  lot.” Id. Skates further claims that, upon being transferred to the FRC, she “began to suffer from

  particular acts of mistreatment by her last supervisor, Freeport Recreation Center manager Victoria

  Dinielli.” Id. at ¶ 13. Specifically, Plaintiff claims that Dinielli: (i) wrongfully discussed personal

  matters in the presence of Plaintiff’s co-worker; (ii) wrongfully stripped Plaintiff of accumulated

  “comp time” at the instruction of the Village’s Executive Director of Human Resources Conor

  Kirwan; (iii) moved her to the less desirable position of cleaning the exercise room at the FRC;

  (iv) denied Plaintiff a key card allowing access to an employee parking lot; (v) threatened to take

  away accumulated vacation days and comp time for failure to produce her attendance card; (vi)

  wrongfully wrote Plaintiff up for insubordination; and (vii) changed Plaintiff’s work schedule to

  include Sunday shifts. Id. at ¶¶ 13-20.




                                                    6
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 7 of 30 PageID #: 2479



             4. Plaintiff’s Insubordination, Absences, and Termination

         According to Defendant, upon being transferred to the FRC, “Ms. Skates began her

  recalcitrant behavior toward her supervisors.” Def.’s 56.1 Stmt. ¶ 13. On approximately April 16,

  2013, Plaintiff “asked Victoria Dinielli to do a favor for [her]” and “write a letter to Human

  Resources for a key car[d] so that [Plaintiff] [could] park in the employee parking lot.” Henry

  Decl. Ex. L. According to Defendant, when Dinielli declined to issue Plaintiff a key card, Skates

  “engaged in gross insubordination and demonstrated serious disrespect toward her supervisor” by

  “yell[ing] and point[ing] her finger at Ms. Dinielli.” Def.’s 56.1 Stmt. ¶ 13. Plaintiff does not

  dispute that she pointed and waived her finger at Dinielli and that she walked out of Dinielli’s

  office despite Dinielli instructing her to come back. Pl.’s Dep. 149:16-150:9. As a result of

  Plaintiff’s actions towards Dinielli, she was directed to attend Employee Assistance Program

  counseling. Def.’s 56.1 Stmt. ¶ 13; see also Kirwan Decl. Ex. E.

         In addition to the foregoing incident with Dinielli, on several occasions, Plaintiff either

  failed to report to work or failed to inform the Village that she would be absent from work prior to

  the start of her shift. Def.’s 56.1 Stmt. ¶¶ 14-20. Skates did not appear for work on June 7, 2013,

  and, after failing to return to work by June 10, 2013, “the village requested information as to the

  reason for [her] absence.” Id. at ¶ 14; see also Henry Decl. Ex. T. In response, on June 19, 2013,

  Skates provided medical notes from her doctors that “contained no information regarding Ms.

  Skates’ medical condition.” Def.’s 56.1 Stmt. ¶ 14; see also Henry Decl. Ex. U. Although one

  such note stated that Plaintiff was able to return to work on June 19, 2013, she did not return to

  work on that day, and, “for nearly two weeks after Ms. Skates was scheduled to return to work,

  the Village never heard from [her].” Def.’s 56.1 Stmt. ¶¶ 14-15. According to Defendant, “Ms.

  Skates continued to be out of work from June 19, 2013 through July 3, 2013 without even so much



                                                   7
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 8 of 30 PageID #: 2480



  as a phone call to the Village.” Id. at ¶ 15. Accordingly, on July 3, 2013, the Village sent Plaintiff

  a letter informing her that if she “failed to return to return to work on July 8, 2013, [she] would be

  considered to have abandoned her job.” Id. at ¶ 17. As a result of her absences, on July 9, 2013,

  Plaintiff “was disciplined with a suspension of two days.” Id. at ¶ 18; see also Kirwan Decl. Ex.

  I. Although Skates ultimately returned to work at the FRC, she continued to violate the Village’s

  absence policy by failing to inform the Village that she would be absent from work prior to her

  shifts on July 16, 2013, September 21, 2013, September 23, 2013, September 27, 2013, October

  10, 2013, October 17, 2013, and October 22, 2013. Def.’s 56.1 Stmt. ¶¶ 19-20.

          Finally, at an October 2013 Village staff meeting, two (2) FRC employees “informed the

  Village that Ms. Skates had been engaged in a campaign of discriminatory hostility toward her co-

  workers and toward patrons of the recreational facility since she began working at the Recreation

  Center.” Id. at ¶ 21. Specifically, Plaintiff’s co-workers Annique Adams and Vicki Groden

  provided written statements to the Village stating that Plaintiff: (i) told Adams, “you can’t trust

  white people”; (ii) referred to Adams as a “whitey lover”; (iii) criticized Groden for taking

  tomatoes from a white person, stating “I can’t believe you’ll take food from a white person”; (iv)

  referred to a Hispanic co-worker as a “spickola”; and (v) referred to a patron of the FRC as a “Jew

  bitch.” Id. at ¶¶ 22-27; see also Kirwan Decl. Ex. K.

          As a result of Plaintiff’s insubordination, absences, and discriminatory statements, Plaintiff

  was discharged from her employment with the Village. See Def.’s 56.1 Stmt. ¶ 28; see also Kirwan

  Decl. Ex. L.      In an October 22, 2013 Charges and Specifications (the “Charges and

  Specifications”), the Village identified eleven (11) charges forming the basis for Plaintiff’s

  termination, including Plaintiff’s: (i) failures to report for work as scheduled; (ii) failures to notify

  the Village that she would be absent from work prior to the start of her shift; and (iii) discriminatory



                                                     8
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 9 of 30 PageID #: 2481



  statements to her co-workers and FRC patrons. Id. Plaintiff arbitrated her dismissal through her

  union, whereat she was represented by an attorney and union representative. Def.’s 56.1 Stmt. ¶

  31. In a May 14, 2014 Opinion and Award of Arbitrator, the arbitrator observed, inter alia, that

  “[i]t is fundamental that to be a worthwhile employee one must be more than just technically

  proficient at his/her tasks; the employee must maintain a good time and attendance record.”

  Kirwan Decl. Ex. M at 26. The arbitrator further opined that, “[a]s awful as [Plaintiff’s] attendance

  record was, it pale[d] in comparison to the gross misbehavior she engaged in when speaking about

  fellow employees and patrons.” Id. Accordingly, the arbitrator held that, “[b]ased on the credible

  evidence presented . . . [Plaintiff] was guilty of the misconduct charged and her dismissal [was]

  the appropriate penalty.” Id. at 27.

         B. Procedural Background

         By way of a March 4, 2015 Complaint, Skates commenced this action against the Village,

  alleging causes of action arising under: (i) Title VII for racial discrimination, retaliation, and

  hostile work environment; (ii) 42 U.S.C. § 1981; (iii) the FMLA for retaliation; (iv) the ADA for

  discrimination; (v) 42 U.S.C. § 1983 for First Amendment retaliation; and (vi) the NYSHRL for

  racial discrimination and retaliation. DE [1]. According to Plaintiff, “Defendant engaged in

  discrimination by inflicting willful and deliberate disparate treatment of Plaintiff during the course

  of her employment, subjecting Plaintiff to a hostile work environment fraught with racial

  discrimination, wrongfully terminating the plaintiff for reasons driven by discriminatory animus

  based on Plaintiff’s disability and/or perceived disability status and/or participation in protected

  activity.” Compl. ¶ 1.

         On September 14, 2015, Defendant filed a motion to dismiss Plaintiff’s Complaint in its

  entirety for failure to state a claim pursuant to Fed. R. Civ. P. 12(b)(6). DE [15]. In a January 28,



                                                    9
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 10 of 30 PageID #: 2482



  2016 Report and Recommendation (the “Report”), Magistrate Judge Anne Y. Shields

  recommended that Defendant’s motion be: (i) granted with respect to Plaintiff’s claims arising

  under Title VII, the ADA, 42 U.S.C. § 1981, and the NYSHRL; and (ii) denied with respect to

  Plaintiff’s claims arising under 42 U.S.C. § 1983 and the FMLA. DE [18]. After neither party

  objected to Magistrate Judge Shields’ Report, the Court adopted the Report in its entirety on April

  12, 2016. DE [19]. Therefore, the only claims remaining in this action are Plaintiff’s claims for:

  (i) First Amendment retaliation pursuant to Section 1983, and (ii) FMLA retaliation. See Skates

  v. Inc. Vill. of Freeport, No. 15-CV-1136, 2016 WL 1452391, at *2 (E.D.N.Y. Apr. 12, 2016)

  (denying Defendant’s motion to dismiss “as to [Plaintiff’s] Section 1983 claims of First

  Amendment retaliation and her claims pursuant to the FMLA”).

          On January 26, 2017, Defendant served Plaintiff with the instant motion for summary

  judgment pursuant to Fed. R. Civ. P. 56. DE [31]. Plaintiff failed to serve opposition to

  Defendant’s motion within the time allowed pursuant to the Court’s Individual Rules of Practice,

  and the Village filed the instant motion with the Court as unopposed on February 14, 2017. DE

  [36].   On February 21, 2017, the Court extended Plaintiff’s deadline to file opposition to

  Defendant’s motion until 9:00 a.m. on February 24, 2017. DE [42]. After Plaintiff failed to file

  her opposition by 9:00 a.m. on February 24, 2017, Defendant filed a “Motion to Expedite,”

  requesting that its motion for summary judgment be deemed unopposed. DE [46]. On February

  24, 2017, the Court granted Defendant’s Motion to Expedite, writing, “[a]s Plaintiff both failed to

  timely oppose Defendant’s motion for summary judgment and failed to adhere to this Court’s

  February 21, 2017 Order directing Plaintiff to file any opposition to Defendant’s motion by 9:00

  a.m. on February 24, 2017, Defendant’s motion for summary judgment will be treated as

  unopposed.” See Electronic Order, February 24, 2017. Plaintiff filed an untimely opposition at



                                                  10
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 11 of 30 PageID #: 2483



  approximately 5:08 p.m. on February 24, 2017. DE [47]. At a February 27, 2017 telephone

  conference, the Court informed the parties that it would consider Plaintiff’s untimely opposition,

  and granted Defendant until March 3, 2017 to file a reply thereto. DE [55]. Defendant filed its

  reply to Plaintiff’s opposition on March 1, 2017. DE [54].

          In moving for summary judgment, Defendant argues, inter alia, that “Plaintiff cannot

  establish a prima facie case of retaliation because Plaintiff cannot prove a causal connection

  between her transfer to the Recreation Center and her campaigning on behalf of Andrew

  Hardwick.” See Memorandum of Law in Support of Defendant’s Motion for Summary Judgment

  (“Def.’s Mem.”), DE [36-1], at 3. Defendant further argues that Plaintiff is unable to establish a

  claim under the FMLA because, inter alia, “Defendant has many, legitimate, non-retaliatory

  reasons for Plaintiff’s suspension and her termination.” Id. at 7. In opposition to Defendant’s

  motion, Plaintiff argues, inter alia, that “the series of adverse actions complained of were in

  retaliation of her First Amendment political conduct, and in addition in meant [sic] to interfere

  with rights protected under FMLA in further retaliation under the FMLA.” See Plaintiff’s

  Memorandum in Opposition to Defendant’s Motion for Summary Judgment (“Pl.’s Opp’n”), DE

  [47], at 7.

  II.     LEGAL STANDARD

          Pursuant to Fed. R. Civ. P. 56, a “court shall grant summary judgment if the movant shows

  that there is no genuine dispute as to any material fact and the movant is entitled to judgment as a

  matter of law.” Fed. R. Civ. P. 56(a). The movant bears the burden of establishing that there are

  no material facts that preclude judgment as a matter of law. See Huminski v. Corsones, 396 F.3d

  53, 69 (2d Cir. 2004). In deciding a motion for summary judgment, the court “is not to weigh the

  evidence but is instead required to view the evidence in the light most favorable to the party



                                                  11
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 12 of 30 PageID #: 2484



  opposing summary judgment, to draw all reasonable inferences in favor of that party, and to

  eschew credibility assessments.” Amnesty Am. v. Town of W. Hartford, 361 F.3d 113, 122 (2d Cir.

  2004); see also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106 S. Ct. 2505, 2510 (1986)

  (holding that a motion for summary judgment should be denied if “the evidence is such that a

  reasonable jury could return a verdict for the nonmoving party”).

         Once the movant has met its initial burden, the party opposing summary judgment “must

  do more than simply show that there is some metaphysical doubt as to the material facts. . . . [T]he

  nonmoving party must come forward with specific facts showing that there is a genuine issue for

  trial.” Matsuhita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586-87, 106 S. Ct. 1348,

  1356 (1986) (internal quotation omitted); see also Maxton v. Underwriter Labs., Inc., 4 F. Supp.

  3d 534, 542 (E.D.N.Y. 2014) (“An issue of fact is considered ‘genuine’ when a reasonable finder

  of fact could render a verdict in favor of the non-moving party.”). In deciding a motion for

  summary judgment, “the court’s responsibility is not to resolve disputed issues of fact but to assess

  whether there are any factual issues to be tried, while resolving ambiguities and drawing

  reasonable inferences against the moving party.” Knight v. U.S. Fire Ins. Co., 804 F.2d 9, 11 (2d

  Cir. 1986).

  III.   DISCUSSION

         Defendant seeks judgment as a matter of law with respect to Plaintiff’s remaining claims

  for First Amendment retaliation pursuant to Section 1983 and FMLA retaliation. See Skates, 2016

  WL 1452391, at *2; see also Def.’s Mem. at 2-9. Defendant further argues that certain material

  upon which Plaintiff relies in opposing the instant motion is not properly before the Court. See

  Memorandum of Law in Further Support of Defendant’s Motion for Summary Judgment (“Def.’s

  Reply Mem.”), DE [54], at 1-3. Applying the standards outlined above, and for the reasons set



                                                   12
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 13 of 30 PageID #: 2485



  forth herein, Defendant is entitled to judgment as a matter of law with respect to each of Plaintiff’s

  remaining claims, and the Village’s motion for summary judgment is therefore granted.

         A. Procedural Issues

         As a preliminary matter, Defendant argues that Plaintiff’s opposition to the instant motion

  is procedurally improper because:       (i) Plaintiff’s Local Civil Rule 56.1 Statement fails to

  specifically controvert or address the facts asserted in Defendant’s Local Civil Rule 56.1

  Statement; (ii) the Henry Declaration is unsworn and “fails to comply with the statutory

  requirements for such a declaration”; and (iii) Plaintiff improperly relies upon both materials not

  produced during the course of discovery and an uncertified deposition transcript. Def.’s Reply

  Mem. at 1-3.

             1. Local Civil Rule 56.1 Statement

         Pursuant to Local Civil Rule 56.1, “[u]pon any motion for summary judgment pursuant to

  Rule 56 of the Federal Rules of Civil Procedure, there shall be annexed to the notice of motion a

  separate, short and concise statement, in numbered paragraphs, of the material facts as to which

  the moving party contends there is no genuine issue to be tried.” Local Civil Rule 56.1(a). The

  party opposing summary judgment must submit a statement containing “correspondingly

  numbered paragraph[s] responding to each numbered paragraph in the statement of the moving

  party.” Id. at 56.1(b). Where the nonmoving party fails to “specifically controvert[]” the facts in

  the moving party’s Local Rule 56.1 statement, the facts contained in the moving party’s Local

  Rule 56.1 statement “will be deemed to be admitted for purposes of the motion . . . .” Id. at 56.1(c);

  see also Millus v. D’Angelo, 224 F.3d 137, 138 (2d Cir. 2000) (affirming summary judgment where

  the plaintiff failed “to deny, in accordance with Rule 56.1 of the court’s local rules, defendants’

  allegations”); Young v. Nassau Univ. Med. Ctr., No. 10-CV-649, 2011 WL 6748500, at *1 n.2



                                                   13
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 14 of 30 PageID #: 2486



  (E.D.N.Y. Dec. 22, 2011) (“Generally, a plaintiff’s failure to respond or contest the facts set forth

  by the defendants in their Rule 56.1 statement as being undisputed constitutes an admission of

  those facts, and those facts are accepted as being undisputed.”) (internal quotation and alteration

  omitted).

         As required pursuant to Local Rule 56.1, in support of its motion for summary judgment,

  Defendant submitted a Rule 56.1 Statement identifying facts supported by citations to record

  evidence. DE [36-2]. In opposition to Defendant’s motion, Plaintiff failed to submit a statement

  containing “correspondingly numbered paragraph[s] responding to each numbered paragraph” in

  Defendant’s Rule 56.1 Statement. See Local Rule 56.1(b). Rather, Plaintiff submitted her own

  Statement of Undisputed Material Facts Pursuant to Local Civil Rile 56.1. DE [48]. As Plaintiff

  failed to specifically controvert the facts in Defendant’s Local Rule 56.1 Statement, the facts

  contained therein that are supported by record evidence are deemed admitted for purposes of the

  instant motion. See Verlus v. Liberty Mut. Ins. Co., No. 14 Civ. 2493, 2015 WL 7170484, at *1

  (S.D.N.Y. Nov. 12, 2015) (“Plaintiffs’ failure to specifically controvert Defendant’s Local Civil

  Rule 56.1 Statement requires this Court to deem Defendant’s version of the facts admitted for

  purposes of this motion.”); Gadsden v. Jones Lang LaSalle Ams., Inc., 210 F. Supp. 2d 430, 438

  (S.D.N.Y. 2002) (“Courts in this circuit have not hesitated to deem admitted the facts in a movant’s

  Local Civil Rule 56.1 Statement that have not been controverted by a Local Civil Rule 56.1

  statement from the nonmoving party.”); see also Eze v. Scott, 11 F. Supp. 3d 376, 378 n.1

  (E.D.N.Y. 2014) (“The Court will only deem admitted those facts in Defendants’ Local Rule 56.1

  Statement that are supported by admissible evidence in the record.”).




                                                   14
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 15 of 30 PageID #: 2487



             2. Unsworn Henry Declaration

         In opposition to the instant motion, Plaintiff relies upon the Henry Declaration to introduce

  certain documents attached thereto. DE [49]. According to Defendant, the Henry Declaration

  both “fails to comply with the statutory requirements for such a declaration” and “fails to meet the

  requirements for an attorney affirmation under New York State Law.” Def.’s Reply Mem. at 2.

  Pursuant to 28 U.S.C. § 1746, where “any matter is required or permitted to be supported,

  evidenced, established, or proved by [a] sworn declaration, verification, certificate, statement,

  oath, or affidavit,” the matter may be supported by an unsworn declaration, certificate, verification,

  or statement, so long as it is made under the penalty of perjury and states, “I declare (or certify,

  verify, or state) under penalty of perjury that the foregoing is true and correct.” 28 U.S.C. §

  1746(2). The Henry Declaration is unsworn and fails to comply with 28 U.S.C. § 1746, as it is not

  made under the penalty of perjury. DE [49]. Nevertheless, the Court may still consider the exhibits

  attached to the Henry Declaration, as Plaintiff relies upon the Henry Declaration for the limited

  purpose of introducing the documents, files, and records attached thereto, and not for the purpose

  of asserting or introducing independent facts. See Owens–Corning Fiberglass Corp. v. U.S. Air,

  853 F. Supp. 656, 663 (E.D.N.Y. 1994) (denying a motion to strike an unsworn declaration where

  it was used “to identify and introduce into evidence the exhibits annexed thereto”). Therefore, the

  Court may consider the exhibits attached to the Henry Declaration insofar as they would be

  admissible into evidence.

             3. Unproduced Evidence and Uncertified Deposition Transcript

         Finally, Defendant argues that, in opposition to the instant motion, Plaintiff improperly

  relies upon: (i) evidence not produced during the course of discovery; and (ii) an uncertified

  deposition transcript of non-party Victoria Dinielli. Def.’s Reply Mem. at 2-3. However, Fed. R.



                                                   15
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 16 of 30 PageID #: 2488



  Civ. P. 56 “allows a summary judgment motion to be denied, or the hearing on the motion to be

  continued, if the nonmoving party has not had an opportunity to make full discovery.” Celotex

  Corp. v. Catrett, 477 U.S. 317, 326, 106 S. Ct. 2548, 2554 (1986) (citing Fed. R. Civ. P. 56(f)).

  As this case is presently at the summary judgment stage, and not the trial stage, it is appropriate

  “that all relevant factual material be placed before the trial court before summary disposition is

  granted or denied.” See EMI Entm’t World, Inc. v. Karen Records, Inc., No. 05 Civ. 390, 2008

  WL 1986243, at *1 (S.D.N.Y. May 5, 2008) (denying motion to preclude evidence not produced

  during discovery in deciding a motion for summary judgment). Therefore, in deciding the instant

  motion, the Court will not preclude materials not produced during the course of discovery or

  Dinielli’s uncertified deposition transcript.

         B. Section 1983 Claim

             1. Legal Standard

         Section 1983 provides, in relevant part:

         Every person who, under color of any statute, ordinance, regulation, custom, or
         usage, of any State . . . subjects, or causes to be subjected, any citizen of the United
         States . . . to the deprivation of any rights, privileges, or immunities secured by the
         Constitution and laws, shall be liable to the party injured . . . .

  42 U.S.C. § 1983. Section 1983 itself does not create substantive rights; rather, “it provides only

  a procedure for redress for the deprivation of rights established elsewhere.” Sykes v. James, 13

  F.3d 515, 519 (2d Cir. 1993); see also Patterson v. Cty. of Oneida, 375 F.3d 206, 225 (2d Cir.

  2004) (“[Section 1983] merely provides a method for vindicating federal rights elsewhere

  conferred . . . .”) (internal quotation omitted). Therefore, to prevail on a claim arising under

  Section 1983, a plaintiff must establish:       “(1) the deprivation of any rights, privileges, or

  immunities secured by the Constitution and its laws; (2) by a person acting under the color of state

  law.” Hawkins v. Nassau Cty. Corr. Facility, 781 F. Supp. 2d 107, 111 (E.D.N.Y. 2011).


                                                    16
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 17 of 30 PageID #: 2489



         A municipality may not be held liable under Section 1983 on a respondeat superior theory

  of liability. Monell v. Dep’t of Soc. Servs. of City of New York, 436 U.S. 658, 690-91, 98 S. Ct.

  2018, 2036 (1978); see also Genovese v. Town of Southampton, 921 F. Supp. 2d 8, 24 (E.D.N.Y.

  2013) (“[A] municipal entity may only be held liable where the entity itself commits a wrong; a

  municipality cannot be held liable under § 1983 on a respondeat superior theory.”) (internal

  quotation omitted). Rather, a municipality may only be held liable under Section 1983 “if the

  deprivation of the plaintiff’s rights under federal law [was] caused by a governmental custom,

  policy, or usage of the municipality.” Jones v. Town of East Haven, 691 F.3d 72, 80 (2d Cir.

  2012); see also Pipitone v. City of New York, 57 F. Supp. 3d 173, 194 (E.D.N.Y. 2014)

  (“Municipalities can only be held liable under § 1983 when they are a ‘moving force’ behind the

  constitutional deprivation.”); DeJesus v. Vill. of Pelham Manor, 282 F. Supp. 2d 162, 175

  (S.D.N.Y. 2003) (holding that a plaintiff “must demonstrate a causal connection between the

  policy at issue and the unconstitutional acts committed by the municipality’s agent”). The policy

  or custom resulting in the deprivation of a constitutional right need not be explicit for purposes of

  liability arising under Section 1983. See Ricciuti v. New York City Transit Auth., 941 F.2d 119,

  123 (2d Cir. 1991). A plaintiff may satisfy the “policy or custom” requirement by alleging:

         (1) a formal policy officially endorsed by the municipality; (2) actions taken by
         government officials responsible for establishing the municipal policies that caused
         the particular deprivation in question; (3) a practice so consistent and widespread
         that, although not expressly authorized, constitutes a custom or usage of which a
         supervising policy-maker must have been aware; or (4) a failure by policy makers
         to provide adequate training or supervision to subordinates to such an extent that it
         amounts to deliberate indifference to the rights of those who come into contact with
         the municipal employees.

  Jones v. Bay Shore Union Free Sch. Dist., 170 F. Supp. 3d 420, 438 (E.D.N.Y. 2016); see also

  Davis v. City of New York, 959 F. Supp. 2d 324, 338 (S.D.N.Y. 2013) (holding that a policy or

  custom may be inferred by constitutional violations that are so “persistent and widespread” that


                                                   17
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 18 of 30 PageID #: 2490



  they “practically have the force of law”); Lovell v. Comsewogue Sch. Dist., 214 F. Supp. 2d 319,

  324 (E.D.N.Y. 2002) (“It can be the result of an informal practice, so long as the discriminatory

  practices are persistent and widespread so as to constitute a custom or usage with the force of

  law.”) (internal quotation omitted). However, it is well established that “‘a single incident

  involving an employee below the policymaking level will not suffice to support an inference of

  municipal custom or policy.’” Brewster v. Nassau Cty., 349 F. Supp. 2d 540, 549 (E.D.N.Y. 2004)

  (quoting Vann v. City of New York, 72 F.3d 1040, 1050 (2d Cir. 1995)).

           As discussed above, Plaintiff alleges that Defendant violated her rights arising under the

  First Amendment by retaliating against her in response to: (i) “her speech and associational

  conduct as it relates to Resolution 18/44” at the Village’s May 28, 2012 Memorial Day parade;

  and (ii) her “political support of Andrew Hardwick during the 2013 election.”3 Pl.’s Opp’n at 12.

               2. First Amendment Retaliation

           To prevail on a First Amendment retaliation claim, the plaintiff “must set forth evidence

  demonstrating (1) he engaged in protected First Amendment activity; (2) he suffered an adverse

  employment action; and (3) there was a causal connection between the protected activity and the

  adverse employment action.” Rolon v. Ward, 345 F. App’x 608, 610 (2d Cir. 2009); see also

  Cotarelo v. Vill. of Sleepy Hollow Police Dep’t, 460 F.3d 247, 253 (2d Cir. 2006) (“Taking adverse

  employment action against a non-policymaking employee for political reasons is a violation of

  that employee’s First Amendment rights.”). However, even where the plaintiff demonstrates a



           3
              Defendant argues that Plaintiff’s claim regarding the 2012 Memorial Day parade was dismissed by this
  Court’s April 12, 2016 Order adopting Magistrate Judge Shields’ Report and Recommendation. See Def.’s Reply
  Mem. at 6. However, Magistrate Judge Shields did not specifically recommend that Plaintiff’s claim regarding the
  2012 Memorial Day parade be dismissed. See Skates v. Inc. Vill. of Freeport, No. 15-CV-1136, 2016 WL 1459659,
  at *18 (E.D.N.Y. Jan. 28, 2016). Rather, Magistrate Judge Shields observed that, Plaintiff’s allegation that she “was
  transferred within one month of her support for the losing mayoral candidate, against the backdrop of a prior indication
  that members of the Village Board frowned upon her earlier signature collection, state[d] a plausible claim for
  retaliation.” Id.

                                                            18
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 19 of 30 PageID #: 2491



  prima facie case of First Amendment retaliation, “a government defendant may still receive

  summary judgment if it establishes its entitlement to a relevant defense.” Smith v. Cty. of Suffolk,

  776 F.3d 114, 119 (2d Cir. 2015). Specifically, a government defendant is entitled to summary

  judgment where it can show by a preponderance of the evidence “that it would have undertaken

  the same adverse employment action ‘even in the absence of the protected conduct.’” Blum v.

  Schlegel, 18 F.3d 1005, 1010 (2d Cir. 1994) (quoting Mt. Healthy City Sch. Dist. Bd. of Educ. v.

  Doyle, 429 U.S. 274, 287, 97 S. Ct. 568, 576 (1977)). In moving for summary judgment,

  Defendant does not dispute that Plaintiff engaged in constitutionally protected First Amendment

  activity. See Def.’s Mem. at 3-5. Rather, Defendant argues that: (i) Plaintiff “cannot prove a

  causal connection between her transfer to the Recreation Center and her campaigning on behalf of

  Andrew Hardwick”; and (ii) the Village was justified in transferring Plaintiff to the FRC because

  “abolishing the practice of allowing individuals to perform ‘out-of-title’ work, a practice that is

  unlawful, constitutes a legitimate non-retaliatory reason for Plaintiff’s transfer.” Id.

         To demonstrate a causal connection between a constitutionally protected activity and an

  adverse employment action, “a plaintiff must show that the protected speech was a substantial

  motivating factor in the adverse employment action.” Cioffi v. Averill Park Cent. Sch. Dist. Bd.

  of Educ., 444 F.3d 158, 167 (2d Cir. 2006) (internal quotation omitted). A plaintiff may establish

  a causal connection between constitutionally protected activity and an adverse employment action

  “by showing that protected activity was close in time to the adverse action.” Espinal v. Goord,

  558 F.3d 119, 129 (2d Cir. 2009). Although, the Second Circuit has “not drawn a bright line to

  define the outer limits beyond which a temporal relationship is too attenuated to establish a causal

  relationship between the exercise of a federal constitutional right and an allegedly retaliatory

  action,” Gorman–Bakos v. Cornell Coop. Extension of Schenectady Cty., 252 F.3d 545, 554 (2d



                                                   19
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 20 of 30 PageID #: 2492



  Cir. 2001), the period of temporal proximity is “measured from the date of the ‘employer’s

  knowledge of the protected activity.’” Kim v. Columbia Univ., 460 F. App’x 23, 25 (2d Cir. 2012)

  (quoting Clark Cty. Sch. Dist. v. Breeden, 532 U.S. 268, 273, 121 S. Ct. 1508, 1511 (2001)).

  However, it is axiomatic that “[a] First Amendment retaliation claim does not exist where the

  defendants had no knowledge of the allegedly protected speech.” Kilduff v. Rochester City Sch.

  Dist., 53 F. Supp. 3d 610, 617 (W.D.N.Y. 2014).

           Defendant is entitled to judgment as a matter of law with respect to Plaintiff’s claim for

  First Amendment retaliation. As an initial matter, insofar as Plaintiff’s claim is based upon her

  constitutionally protected activity at the Village’s 2012 Memorial Day parade, there is no evidence

  that Skates actually suffered an adverse employment action as a result of collecting signatures in

  support of Resolution 18/44. Even accepting as true Plaintiff’s contention that Trustee Martinez

  stated that people like Plaintiff should not work for the Village,4 see Pl.’s 56.1 Stmt. ¶¶ 3-5, it is

  undisputed that the Village neither terminated Plaintiff nor formally reprimanded her in any

  manner as a result of her protected activity at the parade. Indeed, at her N.Y. Gen. Mun. Law §

  50(h) examination under oath, Plaintiff testified that she was never “disciplined in connection with

  [the] incident at the Village board meeting,” and that she continued to work for the Village for

  over a year until October 21, 2013. See Panico Decl. Ex. A (“Pl.’s 50(h) Dep.”) at 64:10-65:3-5.

  As Plaintiff did not suffer an adverse employment action as a result of her protected activity at the

  2012 Memorial Day parade, her activity in support of Resolution 18/44 is insufficient to establish


           4
             In support of her contention that Trustee Martinez stated that people like Plaintiff should not work for the
  Village, Plaintiff claims to rely upon a video recording of the Village’s June 2012 public meeting. See Pl.’s 56.1 Stmt.
  ¶ 4; Henry Decl. Ex. Y. However, Plaintiff did not submit any recording in opposition to the instant motion. See
  Henry Decl. Ex. Y; see also Major League Baseball Props., Inc. v. Salvino, Inc., 542 F.3d 290, 310 (2d Cir. 2008)
  (“In order to defeat a properly supported summary judgment motion, the opposing party must proffer admissible
  evidence that sets forth specific facts showing a genuinely disputed factual issue that is material under the applicable
  legal principles.”) (internal quotation and alteration omitted); ITC Ltd. v. Punchgini, Inc., 482 F.3d 135, 151 (2d Cir.
  2007) (“[C]onclusory statements, conjecture, and inadmissible evidence are insufficient to defeat summary
  judgment.”).

                                                            20
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 21 of 30 PageID #: 2493



  a claim for First Amendment retaliation. See Kuck v. Danaher, 600 F.3d 159, 168 (2d Cir. 2010)

  (“It goes without saying that retaliation cannot be established where no adverse action has been

  alleged.”). Furthermore, although Plaintiff alleges that she suffered adverse employment actions

  upon her transfer to the FRC in April 2013, Plaintiff is unable to establish that any such adverse

  actions are causally related to her protected activity at the 2012 Memorial Day parade. First, as

  Plaintiff concedes that she was not transferred to the FRC until April 2013, any adverse

  employment actions suffered thereafter are too temporally removed from the May 2012 Memorial

  Day parade to support an inference of causation. See, e.g., Hollander v. Am. Cyanamid Co., 895

  F.2d 80, 85-86 (2d Cir. 1990) (holding that the passage of three (3) months was too long to suggest

  a causal relationship in a First Amendment retaliation claim); Ruhling v. Tribune Co., No. 04-CV-

  2430, 2007 WL 28283, at *23 (E.D.N.Y. Jan. 3, 2007) (holding that “a passage of two months

  between the protected activity and the adverse employment action seems to be the dividing line”).

  Moreover, Plaintiff fails to identify evidence that anyone who allegedly took adverse employment

  actions against her had knowledge of her protected activity at the 2012 Memorial Day parade. See

  Kilduff, 53 F. Supp. 3d at 617. Although Plaintiff testified that she believed that she gave her

  completed signature sheet “to one of the individuals that was collecting signatures” with her, she

  conceded that she did not “hand it in to anyone at the village,” and she fails to identify anyone

  within the Village other than Martinez, Pineyro, and Richardson who was aware of her protected

  activity at the parade. Pl.’s Dep. 87:6-17. As any alleged adverse employment action lacks the

  requisite temporal proximity to Plaintiff’s constitutionally protected activity at the 2012 Memorial

  Day parade, and because Plaintiff fails to identify individuals who took adverse employment

  actions against her who were aware of her protected activity at the parade, she is unable to establish




                                                   21
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 22 of 30 PageID #: 2494



  that she suffered an adverse employment action that was causally related to her protected activity

  at the 2012 Memorial Day parade.

           Insofar as Plaintiff’s First Amendment retaliation claim is premised upon her support of

  Hardwick in the Village’s mayoral election, Defendant is also entitled to judgment as a matter of

  law, as there is no evidence that anyone who took adverse employment actions against Plaintiff,

  including Kennedy and Dinielli, was aware of Plaintiff’s support of Hardwick or investigation of

  Kennedy. Plaintiff claims that her investigation of Kennedy “resulted in uncovering discrepancies

  [in] . . . Kennedy’s property, as well as a finding of illegal signatures in connection with his election

  . . . .” Pl.’s 56.1 Stmt. ¶ 8. According to Plaintiff, Kennedy “wanted [her] in the rec center as a

  form of punishment” for “finding information on him, not supporting him, [and] working against

  his election.” Pl.’s Dep. 117:10-17. However, at her deposition, Plaintiff conceded both that she

  was unaware of whether Kennedy knew that she was investigating him, and that she had “no idea

  if [Kennedy] specifically knew [Plaintiff] was reviewing his petitions.” Id. at 103:4-10, 106:19-

  24. Indeed, Skates further testified that neither Kennedy, Dinielli, nor anybody else told her that

  Kennedy sought to punish her for her protected activity in support of Hardwick. Id. at 118:15-19.

  Rather, when asked how she knew that Kennedy “transferred [her] as a form of punishment,”

  Plaintiff responded that she “was told by [her] spirituality,” and that her spirituality “show[ed]

  [her] things that were to come.” Id. at 119:10-120:25. As Plaintiff fails to identify any admissible

  evidence suggesting that Kennedy or any other individual within the Village who allegedly took

  adverse employment actions against her had knowledge of her protected activity related to the

  mayoral election, she fails to raise a genuine issue of triable fact with respect to whether an adverse

  employment action was causally related to her activity in connection with the election.5 See


           5
             Although Plaintiff alleges that she informed a woman named Cheryl about the results of her investigation,
  and that she “reviewed the petitions that were questionable in the presence of employees of the Village,” she does not

                                                           22
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 23 of 30 PageID #: 2495



  Kilduff, 53 F. Supp. 3d at 617; see also Louis v. Metro. Transit Auth., 145 F. Supp. 3d 215, 224

  (E.D.N.Y. 2015) (“A plaintiff must prove that the defendant acted with specific intent to punish

  the protected activity . . . .”); Rebrovich v. Cty. of Erie, 544 F. Supp. 2d 159, 171-72 (W.D.N.Y.

  2008) (“Plaintiff’s lack of knowledge as to whether [an individual] knew of his protected speech

  with authorities is not sufficient to raise a genuine issue of fact.”); cf. Dingle v. City of New York,

  No. 10 Civ. 4, 2011 WL 2682110, at *7 (S.D.N.Y. July 7, 2011) (holding that an issue of fact

  precluded summary judgment where the defendant’s “knowledge of plaintiff’s [protected activity

  was] in dispute”). Therefore, Plaintiff’s First Amendment retaliation claim fails as a matter of law.

           In opposition to the instant motion, Plaintiff relies upon Lynch v. Ackley, No. 12-CV-537,

  2014 WL 4782812 (D. Conn. Sept. 24, 2014), in support of her argument that “an accumulation

  of ‘seemingly minor incidents’ may combine to establish a ‘critical mass’ sufficient to establish a

  retaliation claim.” Pl.’s Opp’n at 18. Plaintiff argues that she “has demonstrated a series of adverse

  actions which individually may not satisfy the adversity threshold; however as a whole create a

  material question of fact as to whether Plaintiff’s workplace deteriorated to the point of adversity.”

  Id. Specifically, Plaintiff argues that: (i) Trustee Martinez “scrutinized [and] ridiculed [her] in

  public,” suggesting that she should no longer be employed by the Village; (ii) Defendant

  transferred and demoted her from an administrative position in the Assessor’s Office to a janitorial

  position in the FRC; (iii) Dinielli wrongfully discussed personal matters relating to Plaintiff’s

  vacation days and comp time in the presence of Skates’ co-workers; (iv) Kirwan instructed Dinielli

  to “wrongfully strip Skates of accumulated comp time”; (v) Dinielli “banished [Plaintiff] to the

  exercise room”; (vi) Dinielli denied Plaintiff a key card to an employee parking lot; (vii) Dinielli



  allege that Cheryl or any employees who witnessed Plaintiff reviewing petitions took adverse action against her or
  informed anyone else within the Village of Plaintiff’s protected activity. See Pl.’s 56.1 Stmt. ¶ 8; Pl.’s Dep. 102:17-
  103:3.

                                                            23
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 24 of 30 PageID #: 2496



  wrongfully wrote Plaintiff up for insubordination; and (viii) Dinielli changed Plaintiff’s schedule

  to include shifts on Sundays. Id..; see also Pl.’s 56.1 Stmt. ¶¶ 12-20. As an initial matter, although

  “a combination of seemingly minor incidents can form the basis of a constitutional retaliation

  claim once they reach a critical mass,” Bowen–Hooks v. City of New York, 13 F. Supp. 3d 179, 240

  (E.D.N.Y. 2014), no such “critical mass” exists here, as certain of the “series of adverse actions”

  Plaintiff identifies were not actually adverse. See Tepperwien v. Energy Nuclear Operations, Inc.,

  663 F.3d 556, 572 (2d Cir. 2011) (holding that there was no adverse action where “[i]ndividually

  the actions were trivial, and placed in context they remain[ed] trivial”); Murray v. Town of N.

  Hempstead, 853 F. Supp. 2d 247, 265 (E.D.N.Y. 2012) (holding that “minor events” were

  insufficient to demonstrate an adverse action because “no such ‘critical mass’ exist[ed]”). For

  example, although Plaintiff claims that “Victoria Dinielli threatened to take accumulated time

  away from [Plaintiff] for failure to produce her attendance card,” see Pl.’s 56.1 Stmt. ¶ 17, Plaintiff

  testified that she was actually “granted all of the time that [she] requested in terms of vacation

  time, sick leave, and personal and comp time.” Pl.’s Dep. 114:17-21. Similarly, although Dinielli

  initially “changed [Plaintiff’s] work schedule to include Sundays,” Dinielli testified that she was

  unaware of Plaintiff’s religious conflict, and Plaintiff concedes that Dinielli eventually “adjusted

  [her] schedule to allow for Sundays off,” and that she never actually had to work on a Sunday. See

  Pl.’s 56.1 Stmt. ¶ 20; Henry Decl. Ex. AA (“Dinielli Dep.”) at 102:20-23; Pl.’s Dep. 173:14-174:3.

  Nevertheless, even assuming the actions Plaintiff identifies were sufficiently adverse, as discussed

  above, Plaintiff’s claim for First Amendment retaliation fails as a matter of law as there is no

  evidence that the individuals taking any such adverse employment actions were aware of Plaintiff’s

  constitutionally protected activity. See Kilduff, 53 F. Supp. 3d at 617; Rebrovich, 544 F. Supp. 2d

  at 171-72.



                                                    24
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 25 of 30 PageID #: 2497



          Based upon the foregoing, Defendant is entitled to judgment as a matter of law with respect

  to Plaintiff’s claim for First Amendment retaliation.6

          C. FMLA Claim

               1. FMLA Legal Framework

          The FMLA “affords eligible employees an ‘entitlement’ to twelve weeks of unpaid leave

  per year.” DiGiovanna v. Beth Israel Med. Ctr., 651 F. Supp. 2d 193, 196 (S.D.N.Y. 2009)

  (quoting 29 U.S.C. § 2612(a)(1)). An employee’s entitlement to unpaid leave under the FMLA is

  triggered by, inter alia, “a serious health condition that makes the employee unable to perform the

  functions of his or her position.” 29 U.S.C. § 2612(a)(1)(D). At the end of the period of unpaid

  leave provided for under the FMLA, “the employee has the right to be restored to the position, or

  its equivalent, that he or she held prior to taking leave.” Reilly v. Revlon, Inc., 620 F. Supp. 2d

  524, 534 (S.D.N.Y. 2009) (citing 29 U.S.C. § 2614(a)(1)). However, “[i]f the employee is unable

  to perform an essential function of the position because of a physical or mental condition, including

  the continuation of a serious health condition, the employee has no right to restoration to another

  position under the FMLA.” Sarno v. Douglas Elliman–Gibbons & Ives, Inc., 183 F.3d 155, 161

  (2d Cir. 1999). Furthermore, “if the employee does not return to work—for whatever reason—the

  employer can replace the employee, as long as the employer is not doing so to punish the employee

  for exercising her FMLA rights.” Reilly, 620 F. Supp. 2d at 534. Pursuant to the FMLA, it is

  illegal for an employer to: (i) “interfere with, restrain, or deny the exercise or the attempt to

  exercise any right” provided by the FMLA; and (ii) “discharge or in any other manner discriminate

  against any individual for opposing any practice made unlawful” by the FMLA. 29 U.S.C. §



          6
             Having concluded that Plaintiff is unable to demonstrate the requisite causation necessary to establish a
  prima facie case of First Amendment retaliation, the Court need not address Defendant’s additional argument that
  each of the Village’s allegedly adverse employment actions were justified. See Def.’s Mem. at 4-5.

                                                          25
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 26 of 30 PageID #: 2498



  2615(a). Therefore, in analyzing claims arising under the FMLA, the “Second Circuit has

  recognized two types of FMLA claims—‘interference’ claims and ‘retaliation’ claims.” Smith v.

  Westchester Cty., 769 F. Supp. 2d 448, 463 (S.D.N.Y. 2011).

         Although Plaintiff argues that Defendant both interfered with her rights arising under the

  FMLA and retaliated against her for exercising her rights arising under the FMLA, see Pl.’s Opp’n

  at 22-27, Plaintiff did not plead a cause of action for FMLA interference in her Complaint. See

  Compl. ¶¶ 126-48. Rather, in her Complaint, Plaintiff only asserted a claim for FMLA retaliation,

  alleging that she suffered damages “[a]s a proximate result of Defendant’s discriminatory acts as

  committed against Plaintiff on the basis of her exercise of rights under the FMLA . . . .” Id. at ¶

  148. Despite Plaintiff’s argument in opposition to the instant motion that Defendant interfered

  with her rights arising under the FMLA, it is well established that “it is inappropriate to raise new

  claims for the first time in submissions in opposition to summary judgment.” Bonnie & Co.

  Fashions, Inc. v. Bankers Tr. Co., 170 F.R.D. 111, 119 (S.D.N.Y. 1997); see also Thomas v. Egan,

  1 F. App’x 52, 54 (2d Cir. 2001) (“A claim must be set forth in the pleadings, in order to give

  defendants fair notice of the nature of the plaintiff’s claim.”); Beckman v. U.S. Postal Serv., 79 F.

  Supp. 2d 394, 408 (S.D.N.Y. 2000) (“[T]his Court will not consider claims not pleaded in the

  Complaint.”). As Plaintiff did not assert a claim for FMLA interference in her Complaint, the

  Court considers only whether Plaintiff has raised a triable issue of fact with respect to her claim

  for FMLA retaliation.

             2. FMLA Retaliation

         Claims of FMLA retaliation are analyzed under the McDonnell–Douglas burden-shifting

  framework. See Colon v. Fashion Inst. of Tech. (State Univ. of New York), 983 F. Supp. 2d 277,

  287 (S.D.N.Y. 2013); see also McDonnell–Douglas Corp. v. Green, 411 U.S. 792, 802-03, 93 S.



                                                   26
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 27 of 30 PageID #: 2499



  Ct. 1817, 1824-25 (1973) (establishing the burden-shifting framework applicable to claims for

  FMLA retaliation). Under the McDonnell–Douglas burden-shifting framework, the plaintiff bears

  the initial burden of establishing a prima facie case of retaliation under the FMLA. See McGuiness

  v. East West Indus., 857 F. Supp. 2d 259, 264 (E.D.N.Y. 2012) (observing that, under the

  McDonnell–Douglas framework “the plaintiff bears the initial burden of showing a prima facie

  case of discrimination”). If the plaintiff satisfies its initial burden of establishing a prima facie

  case, “the burden of production then shifts to the employer to ‘articulate a legitimate, clear,

  specific, and non-discriminatory reason’ for its actions.” Esser v. Rainbow Advert. Sales Corp.,

  448 F. Supp. 2d 574, 581 (S.D.N.Y. 2006) (quoting Quarantino v. Tiffany & Co., 71 F.3d 58, 64

  (2d Cir. 1995)). If the employer satisfies its burden of articulating a non-discriminatory reason for

  its actions, “the presumption of discrimination drops out and the plaintiff has the burden to

  establish by a preponderance of the evidence that the employer’s stated reason was merely a pretext

  for discrimination.” Id. (citing St. Mary’s Honor Ctr. v. Hicks, 509 U.S. 502, 515, 113 S. Ct. 2742,

  2752 (1993)). To demonstrate a prima facie case of retaliation under the FMLA, the plaintiff must

  establish that: “(1) he exercised rights protected under the FMLA; (2) he was qualified for his

  position; (3) he suffered an adverse employment action; and (4) the adverse employment action

  occurred under circumstances giving rise to an inference of retaliatory intent.” Potenza v. City of

  New York, 365 F.3d 165, 168 (2d Cir. 2004).

         Defendant is entitled to judgment as a matter of law with respect to Plaintiff’s FMLA

  retaliation claim. In moving for summary judgment, the Village argues that Plaintiff: (i) did not

  exercise her rights arising under the FMLA; (ii) was not qualified for a position in the Assessor’s

  Office; and (iii) is unable to demonstrate that her termination was causally connected to her alleged

  request for FMLA leave. Def.’s Mem. at 7-11. However, even assuming Plaintiff satisfied her



                                                   27
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 28 of 30 PageID #: 2500



  initial burden in demonstrating a prima facie case of FMLA retaliation, Defendant has proffered

  two (2) legitimate, non-discriminatory reasons for terminating Plaintiff. Specifically, Defendant

  argues that Plaintiff was terminated because of: (i) her “constant failure to comply with the Village

  time and leave policy, despite repeated warnings”; and (ii) Plaintiff’s “discriminatory hostility . . .

  demonstrated toward her co-workers and toward the patrons of the Recreation Center.” Id. at 8.

  In response to Defendant’s reasons for terminating Plaintiff, Skates fails to satisfy her burden in

  demonstrating that the Village’s proffered reasons were pretextual, and she therefore is unable to

  defeat Defendant’s motion for summary judgment. See Nagel v. Cty. of Orange, No. 09 Civ. 9960,

  2013 WL 1285465, at *3 (S.D.N.Y. Mar. 28, 2013) (holding that, to defeat a motion for summary

  judgment, the plaintiff “need not show that the defendant’s proffered reason was false or played

  no role in the decision to terminate [her], but only that it was not the only reason, and that h[er]

  filing for FMLA leave was at least one motivating factor”).

         In support of its proffered non-discriminatory reasons for terminating Plaintiff, Defendant

  submitted the Charges and Specifications outlining the bases for Plaintiff’s termination, which

  include, inter alia, Plaintiff’s: (i) failure to call in to work or notify the Village of her absences;

  and (ii) misconduct, incompetence, gross misconduct, and conduct unbecoming of an employee

  related to Skates’ discriminatory hostility toward her co-workers and FRC patrons. See Kirwan

  Decl. Ex. L. With respect to Plaintiff’s failure to comply with the Village’s time and leave policy,

  the evidence submitted in support of the instant motion demonstrates that, although a doctor’s note

  stated that Plaintiff was able to return to work on June 19, 2013, she did not return to work until

  July 8, 2013, and she failed to contact anyone from the Village regarding her absence. Def.’s 56.1

  Stmt. ¶¶ 14-20. After being suspended for two (2) days, Plaintiff continued to violate the Village’s

  absence policy by failing to provide prior notice on days on which she would be absent from or



                                                    28
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 29 of 30 PageID #: 2501



  late to work, including on July 15, 2013, September 21, 2013, September 23, 2013, September 27,

  2013, October 10, 2013, October 17, 2013, and October 22, 2013. See Kirwan Decl. ¶ 18.

  Likewise, with respect to Plaintiff’s discriminatory hostility toward her co-workers and FRC

  patrons, the evidence submitted in support of the instant motion demonstrates that in October 2013,

  the Village’s Human Resources Department received reports that “Plaintiff made numerous

  discriminatory statements during her employment at the Recreation Center.” Def.’s Mem. at 8.

  Specifically, the evidence demonstrates that Plaintiff: (i) told Adams, “you can’t trust white

  people”; (ii) referred to Adams as a “whitey lover”; (iii) criticized Groden for taking tomatoes

  from a white person, stating “I can’t believe you’ll take food from a white person”; (iv) referred

  to a Hispanic co-worker as a “spickola”; and (v) referred to a patron of the FRC as a “Jew bitch.”

  Def.’s 56.1 Stmt. ¶¶ 19-24. The evidence further demonstrates that Adams and Groden made

  written statements informing the Village of Plaintiff’s comments. Id. at ¶25. Defendant’s

  proffered reasons, as well as the evidence submitted in support thereof, are sufficient to rebut any

  presumption of discriminatory intent in terminating Plaintiff. See Hill v. New York City Housing

  Auth., 220 F. Supp. 3d 499, 508 (S.D.N.Y. 2016) (holding that the plaintiff’s poor work

  performance was not pretextual and was a legitimate, non-discriminatory basis for terminating her

  employment); McGuiness, 857 F. Supp. 2d at 265 (holding that the defendant proffered a non-

  discriminatory basis for terminating the plaintiff based upon the “Plaintiff’s substandard

  performance at work, including extended absences”); Cooper v. New York State Nurses Ass’n, 847

  F. Supp. 2d 437, 449 (E.D.N.Y. 2012) (holding that the defendant’s “decision to terminate plaintiff

  for insubordination [was] legitimate and non-discriminatory on its face”).

         In opposition to the instant motion, Plaintiff fails to demonstrate by a preponderance of the

  evidence that Defendant’s proffered reasons for terminating Plaintiff were merely pretextual.



                                                  29
Case 2:15-cv-01136-SJF-AYS Document 56 Filed 06/28/17 Page 30 of 30 PageID #: 2502



  Instead, citing no specific evidence, Skates argues in conclusory fashion that “Defendant[’s] pre-

  textual basis for terminating Plaintiff’s employment must also be ignored.” Pl.’s Opp’n at 26.

  However, in order to rebut an employer’s proffered nondiscriminatory rationale for its actions and

  withstand summary judgment, a plaintiff must present more than allegations that are “conclusory

  and unsupported by evidence of any weight.” Smith v. Am. Exp. Co., 853 F.2d 151, 154-55 (2d

  Cir. 1988); see also Meiri v. Dacon, 759 F.2d 989, 998 (2d Cir. 1985) (“To allow a party to defeat

  a motion for summary judgment by offering purely conclusory allegations of discrimination,

  absent any concrete particulars would necessitate a trial in all cases.”); Rinaldi v. Quality King

  Distribs., Inc., 29 F. Supp. 3d 218, 231 (E.D.N.Y. 2014) (holding that the plaintiff’s “speculative

  argument that her termination ‘must have been’ related to her FMLA absences [was] insufficient

  at the summary judgment stage”); Kim v. Goldberg, Weprin, Finkel Goldstein, LLP, 862 F. Supp.

  2d 311, 320 (S.D.N.Y. 2012) (granting the defendant’s motion for summary judgment where the

  plaintiff failed to rebut the defendant’s proffered non-discriminatory reason for terminating the

  plaintiff). As Plaintiff fails to present evidence contradicting Defendant’s proffered legitimate,

  non-discriminatory reason for terminating Plaintiff, she has failed to satisfy her burden. Therefore,

  Defendant’s motion for summary judgment is granted with respect to Plaintiffs’ claim for FMLA

  retaliation.

  IV.     CONCLUSION

          For the reasons set forth herein, Defendant’s motion for summary judgment pursuant to

  Fed. R. Civ. P. 56 is granted in its entirety. The Clerk of the Court is directed to enter judgment

  in favor of Defendants and to close this case.

  Dated: Central Islip, New York                    SO ORDERED.
         June 28, 2017
                                                    s/ Sandra J. Feuerstein
                                                    Sandra J. Feuerstein
                                                    United States District Judge

                                                   30
